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    EXHIBIT A
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 1                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
 2
                                                       )
 3
     IN RE: ROUNDUP PRODUCTS                           ) MDL No. 2741
 4   LIABILITY LITIGATION                              )
                                                       ) Case No. 3:16-md-02741-VC
 5                                                     )
                                                       ) [PROPOSED] ORDER GRANTING
 6   This document relates to:
                                                       ) JOINT MOTION TO ADD WAVE 9
     ALL ACTIONS                                       ) SCHEDULE AND WIND DOWN THE
 7
                                                       ) MDL
 8                                                     )

 9          THIS MATTER came before the Court based on the Parties Joint Motion to Add Wave 9 and
10   Close MDL. Having reviewed the Joint Motion, the proposed schedule below, and finding good cause
11   shown, the Court GRANTS the Joint Motion, adding Wave 9 and Wind Down the MDL. Any cases
12   added to the MDL or moved from the inactive docket from the date of this Order until October 4,
13   2024 will be automatically placed in MDL Wave 9E. No cases will be permitted to join the MDL
14   after October 4, 2024. Cases that were assigned in previous Waves 1-8, and already moved to a later
15   Wave on at least one occasion, will not be permitted to transfer to Wave 9 absent extraordinary
16   circumstances.
17
     Wave 8 Schedule:
18

19   No changes from Order Granted on August 30, 2023.
20
     Wave 8 Schedule:
21

22                             Event                                             Date
23   The parties should file a letter brief identifying any                   11/11/2024
     disputes over the applicable state law for the wave 8 cases.
24   For cases where that is undisputed, the parties should file
     a stipulation identifying the governing state law.
25

26
27

28


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 1   Wave 8A Schedule
 2
                            Event                                Date
 3   Close of Wave 8A fact discovery                           9/6/2024
 4

 5   Plaintiffs’ expert reports due.                           9/9/2024

 6
     Monsanto’s expert reports due.                            10/9/2024
 7

 8
     Close of expert discovery.                                11/8/2024
 9

10

11   Wave 8B Schedule

12                          Event                                 Date
     Close of Wave 8B fact discovery                           10/9/2024
13

14
     Plaintiffs’ expert reports due.                          10/12/2024
15

16   Monsanto’s expert reports due.                           11/13/2024
17

18   Close of expert discovery.                               12/13/2024

19

20
     Wave 8C Schedule
21

22                          Event                                Date
     Close of Wave 8C fact discovery                          11/11/2024
23

24
     Plaintiffs’ expert reports due.                          11/15/2024
25

26   Monsanto’s expert reports due.                           12/16/2024
27

28   Close of expert discovery.                                1/15/2025


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 1   Wave 8 Briefing Schedule
 2                           Event                                             Date
     Monsanto’s Daubert and summary judgment briefs due.                    1/22/2025
 3   Plaintiffs’ Daubert motions due                                        1/22/2025
 4
     Oppositions re: Daubert and summary judgment                           2/12/2025
 5   due.
 6   Replies re: Daubert and summary judgment due.                          2/26/2025
     Daubert hearing (if necessary).                                           TBD
 7

 8

 9   Wave 8 Case Assignments

10          The below cases are assigned to Wave 8 and are assigned the below sub-waves for expert

11   and discovery purposes as follows:
12   Wave 8A
13

14
                   Case Name              MDL Case No.             Transferor Court
15           Altomari, Ann Marie           3:23-cv-01746        US District Court of MN
16
            Anderson, Jacklyn Lee          3:20-cv-00848        US District Court Middle
17                                                                   District of FL
               Anderson, Michael           3:19-cv-06092        US District Court Middle
18                                                                   District of FL
                Bailey, Darrell            3:23-cv-01926        US District Court Middle
19                                                                   District of FL
20               Baker, Brenda             3:19-cv-05873        US District Court Eastern
                                                                    District of MO
21               Batts, Stanley            3:20-cv-05939        US District Court Eastern
                                                                    District of MO
22               Besse, Nikki              3:23-cv-03187        US District Court Eastern
                                                                    District of MO
23
            Billigen Sr., Thomas J.        3:22-cv-08892        US District Court of MN
24
               Birdstraw, Allison          3:23-cv-02167        US District Court Eastern
25                                                                  District of MO
                Briggs, Michael            3:23-cv-03156        US District Court Eastern
26                                                                  District of MO
27              Callahan, Tana             3:22-cv-05663        US District Court Eastern
                                                                    District of LA
28


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 1
               Case Name        MDL Case No.         Transferor Court
 2        Danowski, William      3:23-cv-00722   US District Court Middle
                                                      District of FL
 3
           Ditoro, Charles       3:23-cv-01960   US District Court Southern
 4                                                    District of FL
            Faulkner, Carl       3:23-cv-03158   US District Court Eastern
 5                                                    District of MO
            Foster, Davis        3:23-cv-01059   US District Court Eastern
 6                                                    District of MO
 7        Goddard, Thomas        3:23-cv-00955   US District Court Eastern
                                                      District of MO
 8        Goranson, Gordon       3:21-cv-06832   US District Court Northern
                                                       District of IN
 9
           Gottstein, Ross       3:23-cv-02961   US District Court Middle
10                                                    District of FL
           Gunn, Raymond         3:23-cv-03161   US District Court Eastern
11                                                    District of MO
       Hammons, Robert Wayne     3:22-cv-05286   US District Court Eastern
12                                                    District of KY
13        Hinkson, Thomas        3:23-cv-03506   US District Court Eastern
                                                      District of MO
14        Hirvela, Kathleen      3:23-cv-00718   US District Court Northern
                                                      District of FL
15         Howard, Walter        3:22-cv-05315   US District Court Eastern
                                                      District of MO
16
           Hueckel, Jeanne       3:22-cv-09088   US District Court Middle
17                                                    District of FL
           Jackson, Clarice      3:22-cv-06599   US District Court Eastern
18                                                    District of MO
           King, Genevieve       3:23-cv-02169   US District Court Eastern
19                                                    District of MO
20          Kooi, Douglas        3:20-cv-06656   US District Court Western
                                                      District of WA
21         Lampert, Laurie       3:22-cv-05044   US District Court Middle
                                                      District of FL
22
            Levy, Robert         3:21-cv-07643   US District Court Southern
                                                      District of FL
23
             Levy, Sally         3:23-cv-00761   US District Court Southern
24                                                    District of FL
        Mazzeo, Peter Anthony    3:19-cv-02315   US District Court Western
25                                                    District of WA
26         Mellon, William       3:22-cv-01951   US District Court Middle
                                                      District of FL
27          Mercer, Lance        3:19-cv-06403   US District Court Western
                                                      District of WA
28


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 1
                 Case Name           MDL Case No.         Transferor Court
 2         Moreland Jr., Emory        3:20-cv-03069   US District Court Southern
                                                           District of GA
 3
               Occhipinti, Connie     3:22-cv-00470   US District Court Middle
 4                                                         District of FL
           Peterson, Berry Chase      3:22-cv-03830   US District Court Southern
 5                                                         District of TX
           Piesik, Margaret Rae       3:19-cv-05660   US District Court Western
 6                                                         District of WA
 7             Shaffer, Steven A.     3:23-cv-01084   US District Court Northern
                                                            District of IL
 8              Tierney, Patrick      3:19-cv-01937   US District Court Western
                                                           District of WA
 9
           Toyer, Joan Elizabeth      3:19-cv-06405   US District Court Western
10                                                         District of WA
           Zarate, Juan Delgado       3:23-cv-03877   US District Court Eastern
11                                                         District of CA

12

13   Wave 8B
14

15
                    Case Name        MDL Case No.         Transferor Court
16               Austin, Robert       3:22-cv-07589   US District Court Central
                                                           District of CA
17                Banet, John         3:20-cv-07883   US District Court Southern
                                                            District of IN
18              Buchanan, Mark        3:20-cv-03718   US District Court Middle
                                                           District of FL
19
                Chapman, Dick         3:19-cv-06723   US District Court Middle
20                                                         District of FL
                Collier, Timothy      3:23-cv-03947   US District Court Middle
21                                                         District of FL
               Cromack, Wayne         3:23-cv-00565    US District Court of MA
22

23              Dennis, Alzonia       3:22-cv-03225    US District Court of NJ

24               Doherty, Sean        3:23-cv-01676   US District Court Western
                                                           District of NY
25
                 Ellis, Timothy       3:19-cv-06091   US District Court Middle
26                                                         District of FL
                   Fazal, Faiz        3:22-cv-06071   US District Court Eastern
27                                                         District of NC
               Ferrington, Charles    3:21-cv-06113   US District Court Western
28                                                         District of LA

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 1
               Case Name       MDL Case No.          Transferor Court
 2         Frueh, William       3:23-cv-01817    US District Court Western
                                                      District of NY
 3
           Godsey, Patricia     3:19-cv-00923    US District Court Southern
 4                                                    District of TX
            Grubb, Shawn        3:20-cv-09293    US District Court Western
 5                                                    District of OK
          Harms, Nathan M.      3:23-cv-03876    US District Court Middle
 6                                                    District of NC
 7         Helmich, Gerald      3:20-cv-05941    US District Court Western
                                                      District of NY
 8        Hernandez, Edwin      3:19-cv-05872    US District Court Eastern
                                                      District of MO
 9
          Howell, Tony Lee      3:20-cv-07322    US District Court Western
10                                                    District of NC
           Jenkins, Nancy       3:23-cv-03507    US District Court Eastern
11                                                    District of MO
           Jizhak, Eugene       3:20-cv-04646    US District Court Southern
12                                                    District of CA
13          Jolin, Jeffrey      3:23-cv-02001    US District Court Eastern
                                                      District of MO
14          Katz, Bernice       3:20-cv-01825    US District Court Eastern
                                                      District of MI
15         Kimble, Nacole       3:21-cv-01334     US District Court of NV
16
            Laury, Romeil       3:23-cv-01361    US District Court Eastern
17                                                    District of MO
            Luby Jr., John      3:22-cv-03830    US District Court Southern
18                                                    District of TX
           Luther, Darlene      3:23-cv-03508    US District Court Eastern
19                                                    District of MO
20           Means, Ira         3:23-cv-03509    US District Court Eastern
                                                      District of MO
21       Montgomery, Steven     3:20-cv-07397    US District Court Western
                                                      District of LA
22
          Morehart, Daniel      3:22-cv-06392     US District Court of MN
23
           Morrissey, John      3:22-cv-05731     US District Court Middle
24                                                     District of FL
           Munday, Chris        3:23-cv-00720     US District Court Middle
25                                                    District of GA
26         Nelson, Rebecca      3:23-cv-03511     US District Court Eastern
                                                      District of MO
27          Pagliaro, Lisa      3:23-cv-02246     US District Court Eastern
                                                      District of MO
28


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 1
                Case Name         MDL Case No.         Transferor Court
 2          Parry, William         3:22-cv-03226   US District Court Southern
                                                        District of TX
 3
          Parsons, Kenneth J.      3:19-cv-02577   US District Court Western
 4                                                      District of WA
            Pearson, Verna         3:19-cv-07525   US District Court Western
 5                                                      District of WA
             Pease, Marc           3:21-cv-10049   US District Court Middle
 6                                                      District of FL
 7        Pellerin Sr., Gilbert    3:21-cv-04634   US District Court Western
                                                        District of LA
 8          Phelps, James          3:23-cv-03512   US District Court Eastern
                                                        District of MO
 9
            Plank, Wilson          3:20-cv-03450   US District Court Middle
10                                                      District of FL
           Plummer, Robert         3:23-cv-01269   US District Court Middle
11                                                      District of FL
              Powell, Pat          3:23-cv-03513   US District Court Eastern
12                                                      District of MO
13        Pratt, Christopher       3:23-cv-00052   US District Court Middle
                                                        District of FL
14           Reid, Charles         3:22-cv-04080   US District Court Middle
                                                        District of NC
15         Rhoades, Cherie         3:23-cv-03535   US District Court Eastern
                                                        District of MO
16
             Ricke, Anne           3:19-cv-06090   US District Court Middle
17                                                      District of FL
          Ritcheson, Kenneth       3:23-cv-02170   US District Court Eastern
18                                                      District of MO
          Roesky, Kathleen         3:23-cv-03570   US District Court Eastern
19                                                      District of MO
20           Rogers, Loy           3:23-cv-02572    US District Court of MN

21          Roman, Albert          3:22-cv-03855   US District Court Middle
                                                        District of FL
22
            Ruiz, Irene C.         3:22-cv-04716   US District Court Western
                                                        District of TX
23
       Sammons, Douglas Victor     3:23-cv-00050   US District Court Northern
24                                                      District of NY
        Sanders, Thomas Lake       3:19-cv-07401   US District Court Eastern
25                                                      District of WA
26          Scheh, Donald          3:20-cv-02427   US District Court Eastern
                                                        District of TX
27          Seieroe, David         3:21-cv-09840   US District Court Northern
                                                         District of IA
28


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 1
                    Case Name       MDL Case No.         Transferor Court
 2               Shedd Jr., Ray      3:20-cv-03833   US District Court Southern
                                                          District of MS
 3
               Stewart, Mark D.      3:20-cv-01835   US District Court Western
 4                                                        District of OK
                 Storlie, John       3:19-cv-03785   US District Court Eastern
 5                                                        District of WA
                Straub, Richard      3:22-cv-03829    US District Court of AZ
 6

 7              Sutton, Jackson      3:23-cv-00221    US District Court of MN

 8         Von Staden, Richard       3:23-cv-01182   US District Court Middle
                                                          District of FL
 9
            Walker, Tracy Dean       3:23-cv-02002   US District Court Eastern
10                                                        District of MO
                Webb, Dan W.         3:20-cv-00493   US District Court Northern
11                                                        District of MS
               Westbrook, Norton     3:23-cv-02985   US District Court Middle
12                                                        District of FL
13             Wilson, Robert S.     3:22-cv-07528    US District Court of MN

14               Wood, Johnny        3:22-cv-03818   US District Court Northern
                                                          District of TX
15              Yeargain, Betty      3:22-cv-05976    US District Court of MN
16

17
     Wave 8C
18

19
                   Case Name        MDL Case No.         Transferor Court
20              Adams, Leland        3:22-cv-07590   US District Court Central
                                                          District of CA
21        Albrecht, Michael David    3:20-cv-01636   US District Court Eastern
                                                          District of MO
22
                Aulakh, Amirk        3:23-cv-00603   US District Court Eastern
23                                                        District of CA
          Axelson, Kathleen Ann      3:19-cv-06400   US District Court Western
24                                                        District of WA
25        Bartholomew, Michael       3:23-cv-01914   US District Court Northern
                                                           District of IA
26          Benzel, Thomas Jay       3:19-cv-03462   US District Court Eastern
                                                          District of WA
27              Besser, Matthew      3:22-cv-05733   US District Court Southern
                                                           District of IA
28


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 1
                 Case Name            MDL Case No.         Transferor Court
 2           Bischoff, David           3:20-cv-05937   US District Court Eastern
                                                            District of MO
 3
             Bowe, William             3:22-cv-01229   US District Court Northern
 4                                                          District of OH
              Bray, Beverly            3:19-cv-05060   US District Court Northern
 5                                                          District of CA
             Bricker, Ricky            3:23-cv-00960   US District Court Southern
 6                                                           District of IA
 7            Buntz, Robert            3:23-cv-03658   US District Court Western
                                                            District of WI
 8           Carmiel, Bilha            3:22-cv-03389    US District Court of NJ
 9
        Christy, Whitney Joseph        3:19-cv-03969   US District Court Eastern
10                                                          District of LA
            Cilli, Gregory A.          3:23-cv-00147   US District Court Southern
11                                                          District of CA
           Coe, John Edward            3:22-cv-01949   US District Court Western
12                                                          District of WA
13      Crutchfield III, Charles E.    3:22-cv-08860    US District Court of MN

14       Culler, Barbara Zellers       3:19-cv-06401   US District Court Western
                                                            District of WA
15            Curtin, Maria            3:23-cv-00471   US District Court Western
                                                            District of PA
16
              Daniels, Jerry           3:19-cv-05870   US District Court Eastern
17                                                          District of MO
             Delaney, Todd             3:22-cv-05646   US District Court Northern
18                                                          District of CA
             Delsuc, Laurent           3:19-cv-02079   US District Court Western
19                                                          District of WA
20        Demarmels, Michael           3:22-cv-04406   US District Court Southern
                                                            District of NY
21       Faschingbauer, Larry J.       3:17-cv-03202   US District Court Western
                                                            District of WI
22
           Finneman, Connie            3:18-cv-07021   US District Court Eastern
                                                            District of MO
23
              Gebo, Ronald             3:17-cv-00168   US District Court Middle
24                                                          District of FL
              Gibson, Faith            3:22-cv-04399   US District Court Middle
25                                                          District of FL
26       Golling, John Michael         3:23-cv-02960   US District Court Western
                                                            District of WA
27          Graves, Brent L.           3:21-cv-09832    US District Court of SD

28


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 1
               Case Name          MDL Case No.         Transferor Court
 2       Greenwood, Elizabeth      3:22-cv-04830   US District Court Eastern
                                                        District of PA
 3
         Harris Sr., Braxton B.    3:23-cv-02566   US District Court Northern
 4                                                      District of AL
         Hayes, Michael Randy      3:21-cv-00965   US District Court Northern
 5                                                      District of AL
         Hendrickson, Michael      3:22-cv-09090   US District Court Western
 6                                                      District of WA
 7        Heuberger, James A.      3:23-cv-00717   US District Court Northern
                                                         District of IA
 8        Hogue, Christopher       3:19-cv-04117   US District Court Western
                                                        District of NC
 9
            Holbrook, Vetril       3:23-cv-00956   US District Court Western
10                                                      District of NC
            Holden, Walter         3:19-cv-05085   US District Court Northern
11                                                      District of CA
           Hueschen, Lee A.        3:21-cv-04937    US District Court of NE
12

13        Jackson, Eddie Ray       3:23-cv-01572   US District Court Middle
                                                       District of FL
14         Jacobs, Billie June     3:22-cv-02969   US District Court Middle
                                                       District of NC
15          Jansen, Jeffrey        3:22-cv-08891   US District Court of MN
16
            Jilnicki, Robert       3:19-cv-06047   US District Court Middle
17                                                     District of FL
          Jobman, Jeffrey T.       3:22-cv-00093   US District Court of NE
18
            Jones, Sheldon         3:22-cv-04265   US District Court Middle
19                                                      District of GA
20         King Jr., Arthur J.     3:21-cv-09294   US District Court Northern
                                                        District of GA
21       King, Richard Douglas     3:22-cv-08859   US District Court Southern
                                                        District of CA
22
             Kirby, Robert         3:21-cv-08447   US District Court Eastern
                                                        District of CA
23
           Lafrance, Adam J.       3:22-cv-05977   US District Court Eastern
24                                                      District of MI
            Lamar, Derrick         3:22-cv-06389   US District Court Middle
25                                                      District of FL
26          Locsin, Douglas        3:23-cv-02571   US District Court Eastern
                                                        District of CA
27         Lubischer, David        3:23-cv-02962   US District Court Western
                                                        District of PA
28


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 1
                Case Name            MDL Case No.        Transferor Court
 2            Mee, Kevin              3:20-cv-01237    US District Court of ID
 3
       Mistich, Raymond Anthony       3:23-cv-04015   US District Court Eastern
 4                                                        District of LA
             Moreno, Estela           3:23-cv-02681   US District Court Central
 5                                                        District of CA
              Myers, Philip           3:19-cv-04411   US District Court Eastern
 6                                                        District of MO
 7          Nederhoff, David          3:22-cv-07287   US District Court of MN

 8         Oehlmann, Michael          3:20-cv-03067    US District Court of NJ
 9
           Orsborne, Mark P.          3:22-cv-09041    US District Court of MA
10
           Pineda, Lesbia M.          3:20-cv-02634   US District Court Middle
11                                                        District of AL
             Pridgen, Jerry           3:23-cv-03025   US District Court Eastern
12                                                        District of NC
13     Prieto-Rodriguez, Miguel A.    3:22-cv-04833   US District Court of PR

14       Rotella, Thomas Phillip      3:21-cv-10050   US District Court Western
                                                           District of NY
15           Rowland, Dan             3:22-cv-06660   US District Court Central
                                                           District of CA
16
              Schrag, Paul            3:22-cv-08888   US District Court Southern
17                                                         District of FL
            Seaman, Charles           3:21-cv-02546   US District Court Middle
18                                                         District of FL
           Sheppard, Christine        3:16-cv-05650    US District Court of HI
19

20          Somach, Michael           3:19-cv-06048   US District Court Middle
                                                           District of FL
21         Southerland, Willie        3:19-cv-06049   US District Court Middle
                                                           District of FL
22
           Sparkman, George           3:21-cv-06497   US District Court Southern
                                                           District of CA
23
             Stevens, Robert          3:22-cv-03859   US District Court Middle
24                                                         District of FL
             Stormes, Lacy            3:19-cv-06026   US District Court Central
25                                                         District of CA
26          Strickland, Silas         3:23-cv-02509   US District Court Southern
                                                           District of GA
27        Teague, JaRon Shawn         3:23-cv-04605   US District Court Western
               La'vickta                                   District of KY
28


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 1
                    Case Name              MDL Case No.                 Transferor Court
 2             Thuss, Robert W.             3:19-cv-07533           US District Court Northern
                                                                         District of GA
 3
                 Tyler, William              3:22-cv-09089          US District Court Eastern
 4                                                                       District of MO
           Vanlandingham, Clifford           3:23-cv-03549          US District Court Eastern
 5                                                                       District of MO
                 Vincent, Roger              3:23-cv-00648           US District Court of ID
 6

 7              Wasson, William              3:22-cv-05412          US District Court Central
                                                                         District of CA
 8              Weaver, Douglas              3:23-cv-00352          US District Court Eastern
                                                                         District of MI
 9
                  White, James               3:23-cv-03550          US District Court Eastern
10                                                                       District of MO
                  Wood, James                3:23-cv-03608          US District Court Eastern
11                                                                       District of MO
                Wright, Winston              3:23-cv-03609          US District Court Eastern
12                                                                       District of MO
13             Yoder, Howard H.              3:22-cv-03140          US District Court Southern
                                                                         District of OH
14              Zeig, Rosemary               3:22-cv-05047           US District Court of MN

15                Zenz, Leo L.               3:23-cv-02148          US District Court Northern
                                                                         District of OH
16

17

18   Wave 9 Schedule:

19
                               Event                                                Date
20   The parties should file a letter brief identifying any                      8/30/2025
     disputes over the applicable state law for the wave 8 cases.
21   For cases where that is undisputed, the parties should file
     a stipulation identifying the governing state law.
22

23

24

25

26
27

28


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 1   Wave 9A Schedule
 2
                            Event                                Date
 3   Close of Wave 9A fact discovery                          2/10/2025
 4

 5   Plaintiffs’ expert reports due.                          2/14/2025

 6
     Monsanto’s expert reports due.                           3/17/2025
 7

 8
     Close of expert discovery.                               4/17/2025
 9

10
     Wave 9B Schedule
11

12                          Event                                Date
13   Close of Wave 9B fact discovery                          3/12/2025

14
     Plaintiffs’ expert reports due.                          4/11/2025
15

16
     Monsanto’s expert reports due.                           5/12/2025
17

18   Close of expert discovery.                               6/12/2025
19

20   Wave 9C Schedule
21

22                          Event                                Date
     Close of Wave 9C fact discovery                          4/11/2025
23

24   Plaintiffs’ expert reports due.                          5/13/2025
25

26   Monsanto’s expert reports due.                           6/13/2025

27
     Close of expert discovery.                               7/14/2025
28


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 1   Wave 9D Schedule
 2
                            Event                                Date
 3   Close of Wave 9D fact discovery                          5/12/2025
 4

 5   Plaintiffs’ expert reports due.                          6/13/2025

 6
     Monsanto’s expert reports due.                           7/14/2025
 7

 8
     Close of expert discovery.                               8/14/2025
 9

10
     Wave 9E Schedule
11

12                          Event                                Date
13   Close of Wave 9E fact discovery                          6/13/2025

14
     Plaintiffs’ expert reports due.                          7/14/2025
15

16
     Monsanto’s expert reports due.                           8/14/2025
17

18   Close of expert discovery.                               9/15/2025
19

20   Wave 9 Briefing Schedule
21
                             Event                               Date
22   Monsanto’s Daubert and summary judgment briefs due.      9/22/2025
     Plaintiffs’ Daubert motions due                          9/22/2025
23

24   Oppositions re: Daubert and summary judgment             10/13/2025
     due.
25
     Replies re: Daubert and summary judgment due.            10/27/2025
26   Daubert hearing (if necessary).                             TBD

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 1   Wave 9 Case Assignments

 2          The below cases are assigned to Wave 9 and are assigned the below sub-waves for expert and
 3
     discovery purposes as follows.
 4
     Wave 9A
 5

 6
                    Case Name           MDL Case No.              Transferor Court
 7               Anderes, Fred           3:24-cv-01114         US District Court Eastern
                                                                    District of NY
 8
            Angers, John Matthew          3:24-cv-01594        US District Court Western
 9                                                                  District of LA
                Bailey, Ronald            3:24-cv-01595         US District Court of NJ
10
                Baker, Patty K.           3:24-cv-01112        US District Court Eastern
11                                                                  District of MO
12              Bartley, Sharon           3:24-cv-00734        US District Court Eastern
                                                                    District of NC
13             Bickel, Augustine          3:24-cv-03126        US District Court Northern
                                                                     District of IA
14              Billingsley, Sue          3:18-cv-05309        US District Court Northern
                                                                    District of MS
15
               Black, Sharon J.           3:24-cv-01111        US District Court Eastern
16                                                                  District of WI
               Bonilla, Eleanore          3:24-cv-03971        US District Court Eastern
17                                                                  District of LA
18              Bowman, Rory              3:24-cv-00760        US District Court Eastern
                                                                    District of NY
19                Box, Robert             3:24-cv-01233        US District Court Eastern
                                                                    District of MO
20           Bozeman Sr., Danny           3:24-cv-03827        US District Court Middle
                                                                    District of LA
21
               Breeden, Franklin          3:24-cv-01125        US District Court Southern
22                                                                  District of TX
                Brettin, Richard          3:24-cv-01110        US District Court Northern
23                                                                   District of IN
                Bridges, Kelly            3:24-cv-01617        US District Court Northern
24                                                                  District of GA
25             Brooks, Lucinda            3:24-cv-01153        US District Court Eastern
                                                                    District of MO
26              Brown, Carolyn            3:23-cv-05240        US District Court Western
                                                                    District of PA
27             Caliste, Kenneth           3:24-cv-03884        US District Court Eastern
                                                                    District of LA
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 1
               Case Name         MDL Case No.         Transferor Court
 2           Cano, Maria          3:24-cv-01241   US District Court Eastern
                                                       District of MO
 3
           Caprera, Anthony       3:24-cv-02860   US District Court Eastern
 4                                                     District of LA
           Carpenter, Elaine      3:24-cv-00938   US District Court Southern
 5                                                     District of FL
           Carptenter, Chad       3:24-cv-01127   US District Court Northern
 6                                                      District of IL
 7        Chambers, James O.      3:24-cv-00510   US District Court Eastern
                                                       District of MO
 8         Chappell, Harold       3:24-cv-02019   US District Court Northern
                                                       District of GA
 9
           Charles Jr., Peter     3:24-cv-00735   US District Court Eastern
10                                                     District of MO
           Coffee, Raymond        3:24-cv-01212    US District Court of CO
11
             Cole, Linda          3:24-cv-01231   US District Court Eastern
12                                                     District of MO
13     Cooper-Heimann, Deborah    3:24-cv-00509   US District Court Eastern
                                                       District of MO
14          Creecy, Alana         3:24-cv-01396   US District Court Eastern
                                                       District of LA
15          Danner, Donald        3:24-cv-02858   US District Court Eastern
                                                       District of LA
16
          Darbonne, Rayford       3:24-cv-03944   US District Court Western
17                                                     District of LA
          Davenport, Lasonta      3:24-cv-03829   US District Court Middle
18                                                     District of LA
           Dawson, Joseph         3:24-cv-00505   US District Court Eastern
19                                                     District of MO
20      Deckman, Todd Charles     3:24-cv-03429   US District Court Southern
                                                       District of CA
21         Delicino, Patricia     3:24-cv-01106   US District Court Eastern
                                                       District of MO
22
             Dent, George         3:24-cv-01397   US District Court Eastern
                                                       District of LA
23
          DeRobbio, Michael       3:20-cv-06776   US District Court Eastern
24                                                     District of MO
            Draten, Linda         3:24-cv-01398   US District Court Middle
25                                                     District of LA
26          Dube, Rosalie         3:24-cv-01618   US District Court Middle
                                                       District of FL
27           Ellis, Henry         3:24-cv-03430   US District Court Middle
                                                       District of LA
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 1
                    Case Name       MDL Case No.        Transferor Court
 2               Evans, Garry        3:24-cv-01619   US District Court Eastern
                                                         District of MO
 3
               Faulkner, Randall     3:24-cv-02855   US District Court of MD
 4
           Gaunichaux, Kendra        3:24-cv-01399   US District Court Eastern
 5                                                        District of LA
                Gin, Kimberly        3:24-cv-02010   US District Court Eastern
 6                                                        District of MO
 7              Gomez, Richard       3:24-cv-03495   US District Court Southern
                                                          District of FL
 8               Green, Cody         3:24-cv-03165   US District Court Western
                                                          District of LA
 9
                  Gros, Brad         3:24-cv-03885   US District Court Eastern
10                                                        District of LA

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12   Wave 9B

13

14                  Case Name       MDL Case No.         Transferor Court
               Bergeret, Dennis      3:23-cv-04960   US District Court Eastern
15                                                        District of MO
16             Brookner, Mendel      3:23-cv-04840   US District Court Southern
                                                          District of FL
17             Burton, Michael J.    3:24-cv-03223   US District Court Central
                                                          District of CA
18              Coombs, James        3:24-cv-01253   US District Court Eastern
                                                          District of MO
19
                 Cottrell, Billy     3:24-cv-01115   US District Court Western
20                                                        District of AR
               Delgado, Patricia     3:24-cv-01264   US District Court Eastern
21                                                        District of MO
                Dimock, Gene         3:24-cv-01128   US District Court Northern
22                                                        District of TX
23             Hammer, DeVon         3:24-cv-02003   US District Court Eastern
                                                          District of MO
24              Harrison, Joe D.     3:21-cv-03602   US District Court Eastern
                                                          District of OK
25
                Harrison, Larry      3:24-cv-00737   US District Court Eastern
26                                                        District of MO
               Hartman, Carlton      3:24-cv-01894    US District Court of CO
27
                 Henrich, Jack       3:20-cv-03728   US District Court Northern
28                                                         District of IA

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 1
                 Case Name       MDL Case No.         Transferor Court
 2         Jashinsky, Robert      3:24-cv-00528   US District Court Central
                                                       District of CA
 3
             Juehring, Lee        3:24-cv-01400   US District Court Southern
 4                                                      District of IL
            Kassabian, Jay        3:24-cv-03622    US District Court of MA
 5
            Kaufmann, Sue         3:24-cv-00738   US District Court Eastern
 6                                                     District of MO
 7       Khadavi, Arash Alex      3:24-cv-03125   US District Court Central
                                                       District of CA
 8         Kincade, Charles       3:24-cv-01254   US District Court Eastern
                                                       District of MO
 9
           King, Michael A.       3:24-cv-02018   US District Court Southern
10                                                     District of CA
           Kocur, Carol Mae       3:24-cv-01445    US District Court of MN
11
            Linszky, Peter        3:24-cv-00513    US District Court of NJ
12

13           Loeb, Steven         3:24-cv-03830   US District Court Middle
                                                       District of LA
14          Maalik, Dhafir        3:24-cv-00792   US District Court Northern
                                                        District of IL
15         Maynard, Thomas        3:24-cv-03432   US District Court Eastern
                                                       District of MO
16
           McAlister, James       3:24-cv-00684   US District Court Western
17                                                     District of PA
         McKemie, William M.      3:20-cv-07324   US District Court Western
18                                                     District of TX
             Meisner, Jon         3:24-cv-00941    US District Court of MN
19

20         Merrion, James L.      3:24-cv-00503   US District Court Middle
                                                       District of PA
21        Michaelson, Edward      3:24-cv-00686   US District Court Western
                                                       District of PA
22
           Pawlowski, John        3:24-cv-01401    US District Court of NJ
23
            Petinga, Velna        3:24-cv-00694   US District Court Eastern
24                                                     District of WI
           Pintar, Patricia A.    3:24-cv-00516   US District Court Southern
25                                                      District of IN
26         Queeno, Donald         3:24-cv-00688   US District Court Western
                                                       District of NY
27         Rieffel, Carolyn       3:24-cv-02859   US District Court Eastern
                                                       District of LA
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 1
                     Case Name       MDL Case No.         Transferor Court
 2             Rufty, Maureen A.      3:24-cv-02856   US District Court Northern
                                                           District of OH
 3
            Sanford, Charles E.       3:24-cv-03946   US District Court Middle
 4                                                         District of LA
               Sheffield, Steve D.    3:24-cv-01877   US District Court Northern
 5                                                         District of AL
                Siciliano, Robert     3:24-cv-00842   US District Court Southern
 6                                                         District of FL
 7             Smith, Thomas E.       3:24-cv-03832   US District Court Southern
                                                           District of MS
 8             Stratton, Richard      3:23-cv-05877   US District Court Eastern
                                                           District of MO
 9
          Villalobos, Addon Urra      3:24-cv-01407   US District Court Middle
10                                                         District of FL
                Vopelak, Derek        3:24-cv-01688   US District Court Northern
11                                                          District of IA
                Williams, Leon        3:24-cv-01155   US District Court Northern
12                                                          District of IA
13         Young, John Gordon         3:18-cv-03514    US District Court of SC

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     Wave 9C
16

17
                    Case Name        MDL Case No.         Transferor Court
18               Durand, Louis        3:24-cv-02861   US District Court Eastern
                                                           District of LA
19
               Gallagher, Edward      3:24-cv-01154   US District Court Northern
20                                                          District of IL
           Gray, Nancy Huerstel       3:24-cv-01733   US District Court Eastern
21                                                         District of LA
               Grey, William R.       3:24-cv-01611   US District Court Northern
22                                                          District of IA
23               Hunt, Harold         3:24-cv-01620   US District Court Northern
                                                           District of OH
24             Johnson, Deborah       3:19-cv-04017    US District Court of MN
25
          Keene Williams, Mary        3:19-cv-04783   US District Court Northern
26              Kathyrn                                    District of CA
           Kennedy, Thomas            3:24-cv-01622   US District Court Eastern
27                                                         District of MO
               Kerchner, Gary R.      3:24-cv-00517   US District Court Eastern
28                                                         District of MO

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 1
                 Case Name        MDL Case No.        Transferor Court
 2          Kirkland, Roger        3:24-cv-03620    US District Court of SC
 3
             Kline, Judith         3:24-cv-03030    US District Court of MN
 4
            Korytko, Mark          3:24-cv-03052   US District Court Western
 5                                                      District of NY
            Larrabee, Tony         3:24-cv-00740   US District Court Eastern
 6                                                     District of MO
 7            Linn, James          3:24-cv-00741   US District Court Western
                                                        District of AR
 8        Marrone, Stephanie       3:23-cv-05070    US District Court of NJ
 9
            Martin, Thomas         3:23-cv-05241    US District Court of NJ
10
         Matlock, Claude Mark      3:24-cv-03005   US District Court Middle
11                                                      District of TN
           McCurry, Michael        3:24-cv-01623   US District Court Southern
12                                                      District of TX
13         McJunkins, Steven       3:24-cv-00875   US District Court Eastern
                                                        District of MO
14      McMichael, Betty Anne      3:24-cv-02857   US District Court Eastern
                                                        District of LA
15         McMullen, Donna         3:24-cv-00742   US District Court Eastern
                                                        District of MO
16
              Meglio, Gail         3:24-cv-03431   US District Court Eastern
17                                                      District of MO
             Michel, Kathy         3:24-cv-00876   US District Court Western
18                                                      District of MO
            Moon, Thomas           3:24-cv-00744   US District Court Eastern
19                                                      District of MO
20       Niescierowicz, Mariola    3:21-cv-05319   US District Court Central
                                                        District of CA
21             Nix, Troy           3:24-cv-00745   US District Court Eastern
                                                        District of MO
22
            Novich, Robert         3:24-cv-00756   US District Court Eastern
                                                        District of MO
23
            Petinga, Charles       3:24-cv-00685   US District Court Eastern
24                                                      District of WI
            Pollack, Celeste       3:24-cv-00687   US District Court Central
25                                                       District of IL
26           Popp, Thomas          3:24-cv-01613   US District Court Western
                                                        District of WI
27         Radcliffe, William      3:24-cv-00690    US District Court of NJ

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 1
                    Case Name       MDL Case No.        Transferor Court
 2             Rodriguez, Wendi      3:24-cv-03490   US District Court Eastern
                                                         District of MO
 3
                  Rush, Larry        3:24-cv-00515    US District Court of NJ
 4
                 Sapp, Wanda         3:24-cv-01150   US District Court Middle
 5                                                       District of FL
           Settembrini, Angelo       3:24-cv-01151   US District Court Middle
 6                                                       District of FL
 7               Sieve, Darcy        3:23-cv-06160   US District Court of MN

 8               Simas, Elvira       3:24-cv-03560   US District Court Eastern
                                                          District of MO
 9
                Stains, Charles      3:24-cv-01403   US District Court Eastern
10                                                        District of LA
                Stewart, Donna       3:24-cv-00691   US District Court Southern
11                                                         District of IL
               Stiegelmeyer, Kurt    3:24-cv-00940    US District Court of MN
12

13              Sweeney, Kevin       3:24-cv-00692   US District Court Southern
                                                          District of NY
14              Swindle, Gayle       3:24-cv-03492   US District Court Eastern
                                                          District of MO
15                Talley, Seth       3:24-cv-01876   US District Court Eastern
                                                          District of NC
16
               Taylor, James H.      3:24-cv-00759   US District Court Eastern
17                                                        District of MO
                Taylor, Jeanette     3:24-cv-00880   US District Court Eastern
18                                                        District of KY
                Taylor, Marion       3:24-cv-00761   US District Court Southern
19                                                        District of TX
20

21
     Wave 9D
22

23
                  Case Name         MDL Case No.         Transferor Court
24       Allen, Dorothy Elizabeth    3:23-cv-05239   US District Court Southern
                                                          District of CA
25
           Blanchard, Wayne J.       3:24-cv-02489   US District Court Western
26                                                        District of LA
                Bryant, Kenzie       3:23-cv-04959   US District Court Southern
27                                                        District of TX
                 Decker, Brian       3:23-cv-04499   US District Court Northern
28                                                         District of IA

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 1
                Case Name       MDL Case No.          Transferor Court
 2         DiBlasio, Joanne      3:23-cv-06434    US District Court Middle
                                                       District of FL
 3
          Donofrio, Edmund       3:24-cv-01229    US District Court Eastern
 4                                                     District of MO
            George, Dalton       3:24-cv-01225    US District Court Southern
 5                                                      District of IN
          Green, Brian Leroy     3:23-cv-05878    US District Court Northern
 6                                                     District of GA
 7      Gutmann, Roland Wayne    3:24-cv-01105    US District Court Northern
                                                       District of NY
 8         Hardman, Melissa      3:23-cv-03759    US District Court Western
                                                       District of WI
 9
         Harootunian, Michael    3:24-cv-02864     US District Court of MA
10
            Herrold, Frank       3:24-cv-01237    US District Court Eastern
11                                                    District of MO
            Homa, Richard        3:24-cv-01103    US District Court Eastern
12                                                    District of PA
13         Ingram, Margaret      3:24-cv-01244    US District Court Eastern
                                                      District of MO
14           Jones, Albert       3:24-cv-01395    US District Court of MA

15          Krystofik, Eric      3:24-cv-00939    US District Court Western
                                                       District of NY
16
            Labor, Charles       3:24-cv-01238    US District Court Eastern
17                                                     District of MO
           Mesimer, Norma        3:24-cv-01625    US District Court Eastern
18                                                     District of MO
         Murphy, Lawrence E.     3:23-cv-04937    US District Court Northern
19                                                     District of MS
20          Parker, Danny        3:24-cv-00757    US District Court Eastern
                                                       District of MO
21          Pixley, Roger        3:24-cv-01149    US District Court Western
                                                       District of MI
22
            Polsley, Darin       3:20-cv-07107    US District Court Northern
                                                       District of CA
23
           Powell, Richard       3:21-cv-02123    US District Court Eastern
24                                                     District of AR
            Ramey, Lenvil        3:17-cv-05878    US District Court Western
25                                                     District of KY
26          Reed, Samuel         3:24-cv-00877    US District Court Eastern
                                                       District of MO
27         Repine, Michael       3:23-cv-06435    US District Court Western
                                                       District of PA
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 1
                Case Name        MDL Case No.         Transferor Court
 2         Roberts, David E.      3:24-cv-02055   US District Court Northern
                                                       District of CA
 3
             Sanders, Jake        3:23-cv-04694    US District Court of MT
 4
            Shapiro, Robert       3:24-cv-00882   US District Court Eastern
 5                                                     District of MO
           Siqueiros, Thelma      3:24-cv-02957   US District Court Northern
 6                                                     District of CA
 7          Smith, Jonathan       3:24-cv-01626   US District Court Eastern
                                                       District of MO
 8           Stein, Audrey        3:24-cv-01102   US District Court Western
                                                       District of WI
 9
           Sterling, Danielle     3:24-cv-00881   US District Court Eastern
10                                                     District of MO
              Stone, John         3:19-cv-04492   US District Court Eastern
11                                                     District of MO
          Thibodeaux, Tobby       3:24-cv-01404   US District Court Eastern
12                                                     District of LA
13         Thompson, Nancy        3:24-cv-00762   US District Court Northern
                                                       District of NY
14       Van Der Zandan, Scott    3:19-cv-08268    US District Court of OR

15          Wainer, Bruce         3:23-cv-04606   US District Court Eastern
                                                       District of LA
16
             Ward, Marcia         3:24-cv-03494   US District Court Eastern
17                                                     District of MO
             Ware, Connie         3:24-cv-00914   US District Court Northern
18                                                     District of OH
            Wassell, Jeffrey      3:24-cv-00763   US District Court Eastern
19                                                     District of PA
20         Whatley, Samuel        3:24-cv-02004   US District Court Eastern
                                                       District of MO
21         Wicklund, David        3:24-cv-01152   US District Court Middle
                                                       District of FL
22
          Williams, Kenneth       3:24-cv-00767   US District Court Eastern
                                                       District of MO
23
             Wilson, Carl         3:24-cv-00878   US District Court Eastern
24                                                     District of MO
           Wright, Winston        3:24-cv-02862    US District Court of MA
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 1   Wave 9E
 2          Any cases added to the MDL or moved from the inactive docket from the date of this Order

 3   until October 4, 2024 will be automatically placed in MDL Wave 9E. No cases will be permitted to

 4   join the MDL after October 4, 2024.

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 8
     Date: July ___, 2024                    _____________________________________
 9                                             HONORABLE VINCE CHHABRIA
                                               UNITED STATES DISTRICT COURT
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